       Case 2:13-cr-02045-EFS      ECF No. 60   filed 04/16/13   PageID.142 Page 1 of 1



 1
 2
 3
                           UNITED STATES DISTRICT COURT
 4
                         EASTERN DISTRICT OF WASHINGTON
 5
 6    UNITED STATES OF AMERICA,              )
                                             )
 7                        Plaintiff,         ) NO: CR-13-2045-EFS-2
                                             )
 8                                           )
      v.                                     ) ORDER DENYING DEFENDANT’S
 9                                           ) MOTION FOR RECONSIDERATION
                                             ) OF ORDER OF DETENTION
10                                           ) (Ct. Rec. 55, 58)
      KYLE ALAN RICHARDSON,                  )
11                                           )
                          Defendant.         )
12                                           )
                                             )
13                                           )

14
           BEFORE THE COURT without oral argument is Defendant’s Motion For
15
     Reconsideration Of Order Of Detention.
16
           The Court, having reviewed the court records and material presented by the
17
18
     Defendant, DENIED the Motion for Reconsideration Of Order Of Detention (Ct.

19   Rec. 55, 58) for the reasons that:

20         1.     There are no funds available to pay for inpatient treatment at this
21                time, and;
22         2.     Defendant has not made clear that there is a secure (lock in) treatment
23                facility to which he may be released for inpatient treatment.
24
           DATED this 16th day of April, 2013.
25
26
                                                s/ James P.Hutton
27                                             JAMES P. HUTTON
                                          U.S. MAGISTRATE JUDGE
28
